Case 8:11-cv-01309-DOC-AN Document 72-18 Filed 10/31/12 Page 1 of 4 Page ID #:1327




                                                                           EXHIBIT 18
                                                                                -304-
Case 8:11-cv-01309-DOC-AN Document 72-18 Filed 10/31/12 Page 2 of 4 Page ID #:1328




                                                                           EXHIBIT 18
                                                                                -305-
Case 8:11-cv-01309-DOC-AN Document 72-18 Filed 10/31/12 Page 3 of 4 Page ID #:1329




                                                                           EXHIBIT 18
                                                                                -306-
Case 8:11-cv-01309-DOC-AN Document 72-18 Filed 10/31/12 Page 4 of 4 Page ID #:1330




                                                                           EXHIBIT 18
                                                                                -307-
